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                    IN THE UNITED STATES DISTRICT COURT FOR
                         EASTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

DINOSAUR MERCHANT BANK LIMITED,                     )
                                                    )
                      Plaintiff,                    )
                                                    )
v.                                                  )          Case No.
                                                    )
BANCSERVICES INTERNATIONAL LLC,                     )
                                                    )
                      Defendant                     )

                                         COMPLAINT

        Plaintiff Dinosaur Merchant Bank Limited (“DMBL”) alleges as follows:

                                       INTRODUCTION

        1.     This is an action for breach of contract, breach of good faith and fair dealing, and

conversion.   This is an action arising under the laws of Missouri.          As set forth below

Bancservices International LLC(“BSI”) improperly has withheld from DMBL $3,469,718.26 in

funds entrusted to BSI for money transmission by BSI for the purchase of crude oil on behalf of

a client of DMBL.

        2.     In brief, after failing to consummate the transfer of $17,348,645 as instructed by

DMBL for the purchase of crude oil, BSI returned only $13,848,926.74 and, ignoring the terms

of its contract with DMBL, BSI kept and seized 20% of the funds entrusted to it, creating out of

whole cloth what it termed as a 5% processing fee of $867,429.63 for itself and a 15% holdback

of $2,602,288.63 that may or may not be returned to DMBL when and how BSI chooses.

Despite repeated demands BSI continues to refuse to honor its contract with DMBL and to return

the funds.
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        3.      DMBL, also referred to as plaintiff herein, is a private company organized under

the laws of United Kingdom and is majority-owned by a citizen of State of New York. Under

the laws of the United Kingdom DMBL is authorized to accept deposits, provide credit, give

investment advice, and arrange deals in investments, as well as to provide payment services.

        4.      BSI, also referred to as defendant herein, is a limited liability company organized

under the laws of the State of Missouri and is a registered money services business with FinCen.

                                  JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1332 because

the parties are diverse and the amount in controversy exceeds $75,000. BSI is a citizen of

Missouri, which principal office is located in Charleston, Missouri, in the County of Mississippi

and is in the southeastern division of the Eastern District of Missouri and is owned and operated

by a citizen of Missouri. DMBL is a United Kingdom-regulated financial institution majority-

owned and operated by a United States person, who is a citizen of New York. Pursuant to a

contract described below, BSI has consented to being sued in the federal courts in Missouri.

        6.      Venue in this District is proper pursuant to 28 U.S.C. §1391 because the

defendant and its agents, or certain of them, reside here or may be found here, a substantial part

of the events giving rise to DMBL’s claims occurred here, and the defendant transacts business

here. In addition, by virtue of a contract described below, BSI has consented to venue in

Missouri, in either federal or state courts.

                                               FACTS

        7.      One of DMBL’s clients is Barnett Capital Bank. Barnett Capital Bank is an

international financial institution located and registered in the Commonwealth of Dominica. One

of Barnett Capital Bank’s banking clients is DeJesus y DeJesus, a law firm located in Panama.



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       8.     On or about October 22, 2018, DMBL received $23,468,931.86 for deposit in the

Barnett Capital Bank account held with DMBL. The wire instructions advised that the purpose

of the funds were for the further benefit of DeJesus y DeJesus and that the purpose of the funds

were “/cost of goods, Boscan crude oil sales agreement dated 1/1/14 cargo load per vessel Mt.

Stena Surprise with BL. 14707-703-1-1.”

       9.     On October 26, 2018, Barnett Capital Bank instructed DMBL to originate a wire

transfer from its account at DMBL in the sum of $17,348,645, the funds to be sent to the

Curacao bank Banco di Caribe N.V. for the benefit of an account maintained there by

“Gemeenschappeljik Hof Van Justite, Curacao.” Gemeenschappeljik Hof Van Justite, Curacao

is Dutch for Common Court of Justice, Curacao (“Curacao Court”). According to the wire

instructions the wire was for “Cost of gods [sic] sales agreement cargo load per vessel Mt. Stena

surprice [sic] with BL 14707/7031/1 Energy Coal Case.”

       10.    DMBL conducted a due diligence investigation between October 26, 2018, and

October 30, 2018. That investigation revealed the following:

              A.      DeJesus y DeJesus was a Panamanian law firm that was acting as an

                      escrow agent in connection with a transaction for crude oil.

              B.      The crude oil, per a sales contract dated October 2, 2018, was being

                      purchased by Tipco Asphalt Public Company Limited (“Tipco”), a Thai

                      company, from Petroleos de Venezuela, S.A. (“PdVSA”), a Venezuelan

                      company. The agreed-upon purchase price was $23,468,931.86.

              C.      The crude oil referenced in the sales contract was the cargo of a vessel

                      named the MT Stena Surprise which was located in Curacao and was the

                      subject of an attachment order issued by the Curacao Court.



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               D.     The oil that had been attached was the result of a pre-judgment attachment

                      favoring an Italian company, Energy Coal. Energy Coal has sued for

                      failure to pay invoices during 2012-2014. The pre-judgment attachment

                      was for $17,348,645. The Curacao Court had authorized PdVSA, instead

                      of selling the oil at public auction, to find a buyer for the oil, if possible, as

                      a means of satisfying the attachment lien.           The Curacao Court had

                      required that if PdVSA found a private buyer the price had to be no less

                      than $17,348,645.

               E.     Tipco was the private buyer to whom PdVSA had contracted to sell the

                      crude oil and on October 22, 2018, Tipco had transferred the full purchase

                      price for the crude oil, $23,468,931.645, to DeJesus y DeJesus as escrow

                      agent and DeJesus y DeJesus had deposited those funds in an account with

                      Bartlett Capital Bank.

       11.     Based upon its due diligence DMBL concluded that the requested $17,348,645

transfer was for the purpose of lifting the Curacao Court-imposed attachment and enabling Tipco

to take possession of the crude oil then stored as cargo in the MT Stena Surprise.

       12.     DMBL’s due diligence revealed that PdVSA was subject to OFAC sanctions in

connection with any debt incurred by PdVSA after August 24, 2017. The Curacao Court

attachment had involved pre-August 24, 2017, and therefore did not fall under the sanctions.

       13.     On October 30, 2018, DMBL engaged BSI to transmit the $17,348,645 wire to

the Curacao Court’s account at Banco di Caribe. Along with the wire payment instructions,

DMBL provided BSI with the fruits of its due diligence, including the contract of crude oil sale

between PdVSA and Tipco, the escrow agreement between Tipco and DeJesus y DeJesus, a



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letter from DeJesus y DeJesus describing the crude oil transaction, and two orders of the Curacao

Court relating to the attachment of the crude oil cargo in the MT Stena Surprise.

       14.     BSI raised no question regarding the propriety of the transaction nor the

sufficiency of the documentation provided to BSI by DMBL, nor did it raise any other question

regarding the money transfer instruction given to BSI by DMBL.

       15.     DMBL had engaged BSI under the terms of a pre-existing agreement between

BSI and DMBL, dated October 13, 2017, entitled the International Payment Services Agreement

(“IPSA”). Upon information and belief, the IPSA is a standardized agreement created by BSI

and required to be signed by its clients.      BSI, in the IPSA, touts its product, known as

BANCwire, which “automates complex, multi-currency settlements, compliance monitoring, and

risk management functions” and further touts its “network of financial institutions and money

transmitting businesses” that enable transfers through BANCwire. Under §15.1 the IPSA is to be

governed by and construed in accordance with the laws of the state of Missouri, and all

transactions and performance under the IPSA are deemed to have occurred in Missouri. Under

§15.16, the prevailing party in litigation to enforce the IPSA shall be entitled to “all reasonable

costs, charges, and expenses, including attorneys’ fees, expended or incurred in connection

therewith.”

       16.     Upon information and belief, the source of which is communications between

DMBL and BSI, BSI processed the $17,348,645 wire payment instruction in an effort to forward

the funds from BSI to the Banco di Caribe account of the Curacao Court.

       17.     Upon information and belief, a the source of which is communications between

DMBL and BSI, at some point downstream in the chain of transfers in connection with the




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movement of the funds to the Banco di Caribe account of the Curacao Court, either Banco di

Caribe or another bank in the chain rejected the payment and returned the $17,348,645 to BSI.

       18.     On or about November 21, 2018, DMBL requested that BSI send the $17,348,645

to a different account maintained by the Curacao Court, an account maintained at the Central

Bank of Curacao, for the same purposes as the October 30, 2018, request. Additional documents

were supplied to BSI to support the transaction.

       19.     On or about November 27, 2018, BSI told DMBL that the $17,348,645 was in the

custody of ING, a Dutch multinational banking and financial institution, pending what BSI-

characterized as a “compliance investigation.”

       20.     On or about November 29, 2018, DMBL directed BSI to cancel the wire payment

transfer and to return the $17,348,645 to DMBL.

       21.     On or about November 30, 2018, BSI informed DMBL that it was keeping

$3,469,718.51 of the $17,348,645 DMBL had instructed be returned to DMBL. BSI kept

$3,469,718.51, representing that it was entitled to a 5% “transaction fee” of $867,429.63 and a

15% “escrow holdback” of $2,602,288.63 in connection with the funds. BSI asserted that the

escrow holdback would be kept by BSI “until we are satisfied that there are no damages, claims,

losses, or other liability due to the nature of this transaction. Until such time, this amount will

secure [DMBL]’s indemnification obligations under the Services Agreement and at any time we

can apply any portion of this amount as needed to satisfy any related claim or if we do not

receive the information needed to complete our investigation of this matter.” The “Services

Agreement” referred to was the IPSA.




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       22.     By a communication dated December 3, 2018, DMBL objected to BSI’s retention

of the $3,469,718.51 and advised BSI that the IPSA in no way justified the effective seizure of

the funds. DMBL demanded the immediate return of the funds.

       23.     All the funds at issue between BSI and DMBL were in United States dollars. The

financial relationship between DMBL and BSI is governed by the IPSA, described above.

Paragraph §1.3 of the IPSA sets forth the fees as a “Max. USD 30.00 per transaction” and a “%

charge per transaction of 0.3%” and a fee of any incoming wires of “USD 20.00.”

       24.     Any transaction fee in connection with the transfer of the $17,348,645, therefore,

would have been far less than $867,429.63. Notably, 0.3% of $17,348,645 even if that fee

applied to an unconsummated transaction would have been $52,045.94. No part of the IPSA

refers either to a 5% transaction fee or an escrow holdback, much less a 15% escrow holdback.

       25.     Under §5.1 of the IPSA the schedule of fees is subject to change, but requires

advanced written notification of any fee change by BSI and consent by DMBL before imposition

of a change of fees. Neither took place here.

       26.     Under §1.6 of the IPSA each party to the IPSA is responsible for its own

expenses, unless specified otherwise in the IPSA. As a result DMBL could not have been

responsible for any expenses incurred by BSI in connection with its money transmitting services.

       27.     The IPSA does not provide that BSI may unilaterally create an “escrow

holdback,” much less determine the amount of such an “escrow holdback.” The IPSA does

provide for, in §§10.3 and 10.4, for certain indemnifications.       But the circumstances of

indemnification stated therein are inapplicable here.         And, notwithstanding that, the

indemnification clause does not permit BSI to pre-emptively withhold funds placed into its

temporary custody, much less determine the amount of such a “holdback.”



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       28.     DMBL has made repeated demands for the return of the $3,469,718.51 withheld

by BSI, minus the limited fees to which BSI would be entitled to under §1.3 of the IPSA. BSI

has refused.

       29.     Over four months has passed since BSI refused to return the $3,469,718.51 being

withheld.

       30.     The only provision of the IPSA that BSI, through counsel, has pointed to is

section 3.3. In an email dated December 28, 2018, counsel asserted that section 3.3 permits

either party “hold disputed amounts in escrow.”              Section 3.3 of the IPSA is titled

“Discrepancies” and it provides, “Any challenges by the Originating Party to the Net Settlement

Process and/or any discrepancies in the Net Settlement Process shall be reconciled in good faith

by the Parties on an immediate basis. Each Party agrees either (i) not to deposit, or (ii) to hold in

escrow, any Net Settlement Amount that is disputed by the other Party.”

       31.     The Net Settlement Process is simply the settlement of the amounts going into

and out of a client’s account in the course of the day to determine who owes whom what and is

so defined in the first section numbered 1.1 of the IPSA. Section 3.3 contemplates challenges by

the Originating Party, which is defined in second section numbered 1.1 of the IPSA as being

DMBL. Further, nothing in section 3.3 authorizes BSI to create a transaction fee nor does it

authorize BSI to determine unilaterally an amount to seize and hold for an indefinite period.

Section 3.3 does not create a right in BSI to second-guess a decision to attempt to transmit funds

and claim to hold monies as a form of advance indemnification based upon a mere possibility

that an event will occur at some point in some indefinite future.

       32.     Although BSI had at no point blocked or rejected the transfer of the funds

entrusted to it by DMBL on the basis of claims of economic sanctions, or asked questions of



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DMBL based upon the due diligence documents provided to BSI, BSI represented in a

communication on or about December 13, 2018, that for BSI to release funds to DMBL, DMBL

was obliged “to coordinate with OFAC and/or FinCEN to investigate this transaction and to

provide written assurance to BSI, it would greatly accelerate the BSI investigation into this

matter.” DMBL is aware of no report by BSI to OFAC or FinCEN related to the transaction or

communications with either agency about the transaction.

       33.    In order to resolve the situation, DMBL, on December 19, 2018, via email, sought

guidance from OFAC regarding whether the contemplated transaction would have violated

OFAC sanctions. At the time PdVSA was subject to certain sanctions relating to debt or credit

incurred after August 25, 2017.

       34.    OFAC responded by email that same day that based upon the sanctions then

imposed on PdVSA, which prohibited dealings in new credit or debt to PdVSA incurred on or

after August 25, 2017, the contemplated transaction would not have been violated OFAC

sanctions because it involved debt to PdVSA incurred prior to August 25, 2017. Additionally,

OFAC advised that a payment to PdVSA for oil, in any event, would not have been prohibited as

new debt regardless.

       35.    As set forth in OFAC’s email, “the Venezuela sanctions program only prohibits

the extension of credit or debt to PDVSA incurred on or after August 25, 2017 which cannot

exceed a maturity or period to pay it back of longer than 90 days. Assuming there are no

Specially Designated Nationals (SDNs) involved and assuming there are no entities involved that

are owned 50% or more by SDNs, then the prohibitions on PDVSA for new debt with the

maturity threshold of longer than 90 days do not seem to apply; meaning the transaction with

payment to PDVSA for the oil would not be prohibited.” None of the relevant documents



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involved in the transactions were issued by or involved SDNs or known to involve entities that

are owned 50% or more by SDNs.

        36.     DMBL shared the results of its communications with BSI. BSI continued to

refuse to return the funds to DMBL. BSI, in an email dated January 14, 2019, that “there is no

need to talk unless and until we have received assurance from OFAC that BSI specifically is not

subject to any liability for facilitating this transaction. Again, the OFAC response you forwarded

is limited to addressing whether or not the payment to PdVSA is prohibited as new debt, not

whether BSI is subject to liability for facilitating the transaction.”

        37.     On January 28, 2019, after the above events, OFAC issued additional sanctions

targeting Venezuela and PdVSA. Although to date no response has been received from OFAC,

DMBL thereafter took the additional step of asking OFAC to confirm its prior written advice and

to state specifically that there is no blockable interest in the $3,469,718.51 held by BSI or, in the

alternative, issue a license authorizing DMBL to engage in all transactions necessary and

ordinarily incident to the return of the funds to it and then back to Tipco.

                                             COUNT I
                                        (Breach of Contract)

        38.     Plaintiff DMBL re-alleges and incorporates by reference the allegations contained

in paragraphs 1 through 37, above.

        39.     The IPSA was and is a written contract with specific terms and which applied to

the business relationship between DMBL and BSI. Pursuant to the IPSA, DMBL entrusted

$17,348,645 with BSI with instruction to transmit the funds to the Curacao Court.              BSI’s

remuneration for its services was set forth in the contract and failing to consummate the

transaction BSI was obliged to return the funds DMBL. By failing in its contractual obligations,




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BSI materially breached the IPSA and by keeping $3,469,718.51 and refusing demands for its

return, DMBL has been damaged in that sum.

                                         COUNT II
                           (Breach of Good Faith and Fair-dealing)

       40.     Plaintiff DMBL re-alleges and incorporates by reference the allegations contained

in paragraphs 1 through 39, above.

       41.     BSI has failed to act in good faith and fair dealing with DMBL. In every contract

subject to Missouri law there is a covenant of good faith and fair dealing. The IPSA was and is a

written contract with specific terms and which applied to the business relationship between

DMBL and BSI. Pursuant to the IPSA, DMBL entrusted $17,348,645 with BSI with instructions

to transmit the funds to the Curacao Court. BSI was obliged to either carry out the instruction or

return the funds to DMBL minus IPSA agreed-upon fees. Instead of doing so, BSI kept 20% of

the $17,348,645 unilaterally creating a “transaction fee” and an “escrow holdback” for an

indeterminate period of time.

       42.     By so doing BSI has not acted in good faith and has not fairly dealed with DMBL

under the IPSA and in the business relationship resulting from the IPSA.

       43.     Even when DMBL took additional steps, contacting OFAC and obtaining comfort

from OFAC that the transaction that had been requested by DMBL was not violative of OFAC,

BSI continued to refuse to abide by the IPSA or to deal fairly with DMBL in good faith.

       44.     BSI has acted bad faith contrary to the terms and to evade its obligations in the

business relationship with DMBL.




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                                             COUNT III
                                            (Conversion)

        45.     Plaintiff DMBL re-alleges and incorporates by reference the allegations contained

in paragraphs 1 through 44, above.

        46.     Pursuant to the IPSA DMBL entrusted BSI with temporary custody of

$17,348,645     to be transferred to the Curacao Court.          When the transaction failed to

consummate, BSI was obliged to return the funds to DMBL. BSI kept a $3,469,718.51, some

20% of the funds. DMBL had and has a greater right to possession of those funds than BSI.

        47.     BSI has asserted a right to ownership of 5% of those identifiable and specific

funds, $867,429.63, as a processing fee.

        48.     BSI has asserted a unilateral right to possession and seizure of 15% of those

identifiable and specific funds, $2,602,288.63, as a holdback. BSI has asserted all earmarks of

ownership over those funds, including when and how those funds will be spent and used.

        49.     The unauthorized assumption and exercise of ownership rights over the property

of DMBL entrusted with BSI to the exclusion of DMBL has resulted in a conversion of the funds

by BSI to the exclusion of the DMBL’s rights.

        50.     Because the funds were placed in the custody of BSI for a specific purpose and

BSI has diverted those funds to something other than such specified purpose BSI had subjected

itself to liability in conversion regardless of good faith.

                                      PRAYER FOR RELIEF

WHEREFORE, plaintiff DMBL prays that this Court enter a judgment as follows:

                a. Awarding judgment in favor of DMBL on all the claims and counts for relief;

                b. Awarding plaintiff DMBL $3,469,718.51 in compensatory damages or in the

                    amount according to the proof against BSI, including the amounts for all

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                      losses and damages suffered as well as punitive damages together with pre-

                      judgment and post-judgment interest;

                   c. Awarding plaintiff DMBL attorneys’ fees pursuant to the terms of the IPSA;

                      and

                   d. Awarding plaintiff DMBL such other and further legal and equitable relief as

                      the Court may deem just and proper.

                                     DEMAND FOR A JURY TRIAL

            Pursuant to Federal Rule of Civil Procedure 38 and Civil Local Rule 2.04, DMBL hereby

demands a jury trial on all issues so triable.



Dated: May 23, 2019

                                                 Respectfully submitted,

                                                 DENTONS US LLP


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